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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA               :         Hon. Stacey D. Adams
                                       :
                v.                     :          Mag. No. PM
                                       :
      LDMONICA McIVER                  :          CRIMINAL COMPLAINT

      I, Robert Tansey, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:

                              SEE ATTACHMENT A

       I further state that I am a Special Agent with the United States Department
of Homeland Security – Homeland Security Investigations, and that this complaint
is based on the following facts:

                              SEE ATTACHMENT B

continued on the attached pages and made a part hereof.



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                                                    Robert Tansey
                                                    Special Agent
                                                    U.S. Department of
                                                    Homeland Security,
                                                    Homeland Security
                                                    Investigations


Homeland Security Investigations Special Agent Robert Tansey attested to this
Affidavit by telephone pursuant to F.R.C.P. 4.1(b)(2)(A) on this 19th day of May,
2025.



                                                    V6WDFH\'$GDPV#SP
                                                    The Hon. Stacey D. Adams
                                                    United States Magistrate Judge
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                                 ATTACHMENT A

                                Count One
   (Assaulting, Resisting, and Impeding Certain Officers or Employees)

      On or about May 9, 2025, in Essex County, in the District of New Jersey, and
elsewhere, the defendant,

                               LaMONICA McIVER,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with a person
designated in Title 18, United States Code, Section 1114, namely, a Homeland
Security Investigations (“HSI”) Special Agent (“V-1”), as described in this Complaint,
while V-1 was engaged in and on account of the performance of his official duties,
involving physical contact with V-1.

      In violation of Title 18, United States Code, Section 111(a)(1).
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                                Count Two
   (Assaulting, Resisting, and Impeding Certain Officers or Employees)

      On or about May 9, 2025, in Essex County, in the District of New Jersey, and
elsewhere, the defendant,

                              LaMONICA McIVER,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with a person
designated in Title 18, United States Code, Section 1114, namely, an Immigration
and Customs Enforcement (“ICE”) Deportation Officer (“V-2”), as described in this
Complaint, while V-2 was engaged in and on account of the performance of his official
duties, involving physical contact with V-2.

      In violation of Title 18, United States Code, Section 111(a)(1).
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                                 ATTACHMENT B

       I, Robert Tansey, am a Special Agent with the Newark Division of the
Department of Homeland Security, Homeland Security Investigations (“HSI”). The
information contained in the Complaint is based upon my personal knowledge, as
well as information obtained from other sources, including: (a) statements made or
reported by various witnesses with knowledge of relevant facts; (b) my review of
publicly available information; and (c) my review of the evidence, including video
surveillance. Because this complaint is being submitted for a limited purpose, I have
not set forth every fact that I know concerning this investigation. Where the contents
of documents and the actions and statements of others are reported, they are reported
in substance and in part, except where otherwise indicated. Where I assert that an
event took place on a particular date, I am asserting that it took place on or about the
date alleged:

      1.    LaMonica McIVER (“McIVER”) is a                    sitting   Congresswoman
representing New Jersey’s 10th Congressional District.

        2.    Delaney Hall currently operates as a federal immigration detention
facility. ICE uses the Delaney Hall Federal Immigration Facility (“Delaney Hall”) for
federal operations.

     3.     On or about May 9, 2025, McIVER arrived at Delaney Hall in Newark,
New Jersey, allegedly to conduct a congressional oversight inspection.

     4.     The visit took place in tandem with an immigration protest rally at
Delaney Hall in the front (unsecured) area of the facility.

       5.     Perimeter cameras show that when the security gate of Delaney Hall
opened momentarily to allow a vehicle to enter into the secure area of the facility,
McIVER and two other members of Congress moved quickly inside the secured area
as the gate closed.

       6.      Once the group entered the secured area, the Mayor arrived thereafter
at the facility and was told he could not enter without authorization.

      7.     However, the Mayor returned with members of his security detail and
was able to enter inside the gate because the guard was under the impression that
the Mayor was part of the Congressional delegation.

      8.     While McIVER and the Mayor were in the secured area of the facility,
V-1, an HSI agent, approached the Mayor and ordered him to leave the facility’s
secure area.

       9.     V-1 spent approximately five minutes repeatedly ordering the Mayor to
leave and issued multiple warnings that he would be arrested if he did not do so.

      10.   McIVER and the other Congresspersons overheard this conversation
and challenged V-1, protesting the Mayor’s removal. V-1 explained to them that
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“Congress people are different,” indicating members of Congress had lawful authority
to be there, and that the Mayor did not.

       11.   After numerous warnings to leave, and numerous warnings of potential
arrest, the HSI agent announced he was going to place the Mayor under arrest.
McIVER interjected, yelling “Hell no! Hell no! Hell no!” The HSI agent ordered the
Mayor to put his hands behind his back and displayed his handcuffs. McIVER and
other members of Congress surrounded the Mayor and prevented HSI from
handcuffing him and taking him into custody.

      12.    McIVER initially remained inside the secured area as the Mayor was
then moved outside the gate. Once outside, HSI agents again attempted to handcuff
the Mayor. At that time, McIVER hurried outside towards the agents and attempted
to thwart the arrest as others yelled “circle the Mayor.”

       13.   McIVER faced the Mayor and placed her arms around him. She and
others encircled him in a ‘human shield’ effort to prevent HSI from completing the
arrest that was initiated in the secured area. McIVER’s attempts to thwart the arrest
included, but are not limited to the following acts.

      14.    McIVER slammed her forearm into the body of V-1, a uniformed HSI
agent. She also reached out and tried to restrain V-1 by forcibly grabbing him.

       15.    Following the arrest, McIVER also pushed an ICE officer (V-2) and used
each of her forearms to forcibly strike V-2 as she returned inside the secure area of
the facility.

       16.    Some representative stills of McIVER’S forcible contact with agents and
officers are included below.

                           Body Camera Still Frame 1 - V-2
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